                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________
THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN
                  Plaintiffs,
vs.                                       Case No: 16:cv:0534

PAUL FELICIAN
PHIL SIMMERT II
                  Defendants
__________________________________________________________________________


                                 PLAINTIFFS’ BRIEF IN RESPONSE
                        TO DEFENDANTS’ MOTIONS IN LIMINE # 3 & #4
                  RE: “CONSERVANCY OPERATIONS” AND “CHARACTER”




        NOW COME PLAINTIFFS by their undersigned counsel, and respectfully submit this
BRIEF IN RESPONSE TO THE DEFENDANT’ MOTIONS IN LIMINE #3 & #4, seeking to
preclude evidence pertaining to the “conservancy operations” and “character” [EDoc#129, and
Brief at EDoc#132].



I.      Introduction.

        Plaintiffs originally filed a detailed Witness List in September of 2019 [EDoc#74]; and

has served “r26” disclosures and supplements, as to certain witnesses. Defendants now object

by motion in limine to six specific witnesses of Plaintiffs, arguing that they (1) proffer improper

‘character evidence’, and (2) otherwise fail the standard tests under FRE 401-403; and 602 and

611 1. [Hereinafter, “Defendants’ Motion”].




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  Defendants discuss FRE 611 and this Court’s duty to prevent undue harassment and humiliation of any witness
[Brief, p5], for reasons unknown to this writer (as Defendants fail to connect FRE611 to any witness herein).



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          For the reasons described below, the Defendants Motion should be denied and Plaintiffs

should be allowed to prove what the Dragonwood Conservancy is; what it does; and how well it

does it. These issues bear directly upon the issue of damages.



II.       ARGUMENT.

A.    Defendants’ Motion In Limine Must Be Denied Because The Six Witnesses Are
Relevant To Plaintiffs’ Claimed Damages.


          Defendants offer two basic reasons for their Motion to exclude these six Plaintiffs’

Witnesses:

           (1) they do not offer “first-hand knowledge of defendants “personal involvement in the
          execution of the warrants”; and

          (2) that “plaintiffs’ conservancy operations” are not an issue to be decided by the jury
          [EDoc 132, pp9-12].

Both arguments are wrong and reflect Defendants’ misinterpretation of “relevant evidence”

herein.

          Specifically, Defendants fail to acknowledge the “damage element” and the special

verdict on damages. Plaintiffs are entitled to present evidence relevant to their damage claims:

the proverbial “who-what-when-where-and-sometimes-why”.

          The first (and perhaps most important issue) is always the “who” – “who is the Plaintiff?”

Although critical in every case, it is even moreso herein - because the Dragonwood Conservancy

is a “501c3” legal entity and not a person. It cannot give testimony about itself, and have its

credibility measured. 2     In today’s world it is absolutely critical that Plaintiffs be allowed to


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    Moreover, because Dragonwood Conservancy cannot appear and testify, the Plaintiffs intend to “show the jury”
what Dragonwood “looks like” by photographs and two short videos, one a few seconds long and the other roughly
fifteen minutes.



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disprove popular misconceptions, and to distance themselves from the “Tiger Kings” of this

world. This is not improper ‘bolstering’ of credibility [Brief, p12]; nor “akin” to allowing

Defendants to prove their “past good performance” as officer [Brief p8]. On the contrary, third

party proof of Plaintiffs’ expertise and breeding prowess, are critical and fundamental factors

underlying Plaintiffs’ damages claims.

         Therefore in order to consider Plaintiffs’ damages, the jury is entitled to -and needs to-

understand who the Plaintiffs’ are, what they do, and how well they do it. Plaintiffs are entitled

to prove through third parties, that the ‘conservancy’ is a legitimate operation, run by a leading

national (and perhaps worldwide) expert, and was nearing the pinnacle and completion of a 30

year project in the making.

         Accordingly, by the six witnesses, Plaintiffs intend to prove the legitimacy, expertise, and

success of the Conservancy, which is relevant to damages including the lost value of

progency/breeding (because the run-of-the-mill reptile keeper cannot be expected to successfully

breed the types of endangered and exotic species herein). Plaintiffs have disclosed the subject

matters of the six witnesses, which includes:

         Lewdyn Densmore, PhD [Brief, p5]: Texas Tech Proffessor who was involved in
         various “blood” and “dna” projects with Plaintiffs and specifically, the “Chinese
         Allligator” project (involving himself, Plaintiffs and Chinese officials), which was set to
         ‘close’ ironically, on the day of the raids; amongst other.

         Curt Harbsmeier [Brief p6]; Florida attorney, wildlife specialty; who owns a Chinese
         Alligator and has opinions as to its value.3




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   The federal rules have been interpreted to permit a property owner to testify about the value of his property, as a
matter within his personal knowledge. Cunningham v Masterwear Corp., 569 F.3d 673, 676 (7th Cir., 2009); United
States v Conn, 297 F.2d 548, 554 fn2 (7th Cir., 2002).



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         Bill Ziegler [Brief p8]; was called-in to this case by the authorities, to assist in the
         seizure and help identify Plaintiffs’ animals; he was also called back by MADACC about
         a month later, to give advice regarding the significant decline of the animals at
         MADACC over the month since he had last seen them. He was a 1st person witness to
         the seizure and handling of the animals; amongst other. 4

         James Schauer [p9]; is an affiliate of Plaintiffs, and is also affiliated with the Wisconsin
         Humane Society (“WHS”); he will explain why Plaintiffs were in possession of two
         Blandings Turtles (considered endangered and protected under Wis. Stats. §29.604, and
         therefore possession is prohibited, as a general statement); he will explain to the jury why
         these restricted items were in Plaintiffs’ possession, i.e., on behalf of the WHS he brought
         the two blandings turtles to Plaintiffs’ rescue and rehabilitation operation. Mr. Schauer
         also has a history with Plaintiffs and knowledge of the Plaintiffs’ operations; and a
         history of bringing WHS animals to Plaintiffs for rescue and rehab; amongst other.

         Collette Adams [p10]; as a leading national expert in reptiles, she also has a
         professional history with Plaintiffs and knows their operations; currently, she is the
         curator at the Brownsville Zoo, which had Philippine Crocodiles on breeding loan to
         Plaintiffs; and those Philippine Crocodiles were returned to her after the raids; amongst
         others.

         Craig Pradorelli [p11]; has a history with Plaintiffs and knows their operations; and
         witnessed the back-end of the search and seizures (personally observing the aftermath
         and widespread destruction)



B.   DEFENDANTS OTHERWISE MISINTERPRET WHAT CONSTITUTES
IMPERMISSIBLE CHARACTER EVIDENCE UNDER FRE404.


         Defendants object to Plaintiffs’ six witnesses on the grounds that they would be offering

improper “character” evidence [Brief, p. 5-6,8].

         First of all, their testimony is not “character evidence” - i.e., proof or attestations about

moral standing, general nature, habits, or traits in the community.




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   It should come as no surprise that -when you call in the area’s go-to-reptile-guy- Ziegler also had a professional
relationship and history with Cullen, where Ziegler will testify to the Plaintiffs’ operations, expertise, and successes,
amongst others.


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          Second, the testimony is not prohibited by the operative FRE -404(a)(1) – which

Defendants fail to discuss. FRE 404 only prohibits a certain category of ‘character evidence’;

to wit:

          “evidence of a person’s character or character trait is not admissible to prove that on a
          particular occasion the person acted in accordance with the character or trait”.

The six Plaintiff-witnesses are not proving (1) that, on a particular occasion, (2) any person acted

in accordance with character or trait. Defendants’ argument really makes no sense.


III.      CONCLUSION.

          For the foregoing reasons, the Plaintiffs respectfully request that this Court deny

Defendants’ Motion in limine #3 & #4.




          Dated at Wauwatosa, Wisconsin this 2nd day of November, 2020

                                                MARK P. MURPHY LAW OFFICE
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                                                /s/ electronically signed by


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